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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



                                                    )
 ATTORNEY GENERAL MERRICK                           )
 GARLAND, in his official capacity, UNITED          )
 STATES DEPARTMENT OF JUSTICE, FBI                  )
 DIRECTOR CHRISTOPHER A. WRAY, in his               )
 official capacity, FEDERAL BUREAU OF               )
 INVESTIGATION,                                     )
                                                    )
                               Movants,             )
                        v.                          )           Case No.: 1:22-mc-27-ABJ
                                                    )
 PETER P. STRZOK                                    )
                                                    )
 IN RE SUBPOENA SERVED ON                           )
 DONALD J. TRUMP                                    )
                                                    )


DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO QUASH SUBPOENA OR FOR
                        PROTECTIVE ORDER

       In his effort to defend his subpoena to former President Trump, Peter Strzok emphasizes

repeatedly that former President Trump is the only person who can attest to “his state of mind”

when making statements about Mr. Strzok. Opposition to Motion to Quash or for Protective Order

(“Opp.”) at 2, 10, 12, ECF No. 11. That may be true, but it is also beside the point. Because former

President Trump did not remove Mr. Strzok and did not release the text messages at issue in this

case, there is no need to probe the former President’s intentions. Even if former President Trump

aspired to tarnish Mr. Strzok’s reputation and to induce his separation from the FBI, it would

matter only if the decision maker shared or sought to further that aspiration.

       Mr. Strzok thus cannot satisfy the operative legal standard for deposing high-ranking

government officials: that “th[e] witness has personal knowledge of relevant and necessary

information that cannot be obtained elsewhere.” Kelley v. FBI, No. CV 13-0825 (ABJ), 2015 WL
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13648073, at *1, *2 (D.D.C. July 16, 2015); see Simplex Time Recorder Co. v. Sec'y of Labor, 766

F.2d 575, 586 (D.C. Cir. 1985) (“[T]op executive officials should not, absent extraordinary

circumstances, be called to testify regarding their reasons for taking official actions.”). No such

circumstances are present.

       Here, it is settled that the decision to remove Mr. Strzok from the FBI was made by then-

Deputy Director David Bowdich. Mr. Strzok is free to depose Mr. Bowdich and the other FBI

officials who were involved in the removal decision. But on the current record, Mr. Strzok offers

nothing—no documents and no testimony—to support a finding that the former President

possesses unique knowledge of relevant facts. Accordingly, on this record, a deposition would be

premature.

                                          ARGUMENT

I.     MR. STRZOK HAS FAILED TO MEET THE HIGH BAR REQUIRED TO TAKE
       THE DEPOSITION OF A FORMER PRESIDENT

       In his opposition, Mr. Strzok asks the Court to treat his subpoena to take the deposition of

the former President of the United States as a routine civil discovery request. See Opp. at 7. It is

not. As set forth in Defendants’ opening brief, this Court and nearly every Circuit Court of Appeals

have recognized that district courts should rarely compel the attendance of a high-ranking official

in a judicial proceeding. See Def’s Mem. of Law In Support of Mot to Quash Subpoena or for

Protective Order at 5-7 (“Mem.”), ECF No. 2; see also, e.g., Kelley, 2015 WL 13648073, at *1; In

re U.S. Dep't of Educ., 25 F.4th 692, 695 (9th Cir. 2022); Lederman v. N.Y.C. Dep’t of Parks &

Recreation, 731 F.3d 199, 203-04 (2d Cir. 2013); In re United States (Jackson), 624 F.3d 1368,

1372-73, 1376 (11th Cir. 2010); Bogan v. City of Boston, 489 F.3d 417, 423 (1st Cir. 2007); In re

United States (Kessler), 985 F.2d 510, 512 (11th Cir. 1993); Franklin Sav. Ass’n v. Ryan, 922 F.2d

209, 211 (4th Cir. 1991); Simplex, 766 F.2d at 586-87; Peoples v. USDA, 427 F.2d 561, 567 (D.C.

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Cir. 1970) (“[S]ubjecting a cabinet officer to oral deposition is not normally countenanced.”);

Warren Bank v. Camp, 396 F.2d 52, 56 (6th Cir. 1968); see generally United States v. Morgan,

313 U.S. 409, 422 (1941). Indeed, courts of appeals have routinely granted the extraordinary

remedy of mandamus to prevent such depositions, including those of former officials. See, e.g., In

re U.S. Dep't of Educ., 25 F.4th at 692; In re Clinton, 973 F.3d 106, 109 (D.C. Cir. 2020); In re

United States (Vilsack), No. 14-5146, 2014 U.S. App LEXIS 14134, at *1-2 (D.C. Cir. July 24,

2014).

         Pursuant to the well-established doctrine regarding depositions of apex officials, Mr.

Strzok must demonstrate, at a minimum, “that [former President Trump] has personal knowledge

of relevant and necessary information that cannot be obtained elsewhere” in order to take the

former President’s deposition. Kelley, 2015 WL 13648073, at *1 (citing Alexander v. FBI, 186

F.R.D. 1, 4 (D.D.C. 1998)). Indeed, this Court in Kelley seemed to suggest that an even higher

standard applies where an “official is being asked to testify about the deliberative process relevant

to his official duties,” id. at 1-2, which Mr. Strzok arguably seeks to do in deposing former

President Trump about his “state of mind” related to the “actions he took to influence the outcome

of the FBI’s disciplinary process.” Opp. at 2.

         Mr. Strzok suggests that the rationales for the apex doctrine somehow do not apply to

former President Trump. He is wrong. In contrast to Mr. Strzok’s assessment of the weighty

concerns behind the doctrine, courts recognize that subjecting high-level executive branch officials

to oral testimony without a strong justification would raise serious separation of powers concerns

and threaten the integrity of a coequal branch of government. See In re U.S. Dep’t of Educ., 25

F.4th at 700, 702 (discussing Morgan, 313 U.S. at 422).




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       Mr. Strzok also gives short shrift to the concern that without a strong presumption against

subjecting incumbent and former high-level government officials to testify, those officials’ time

would be consumed by plaintiffs seeking their deposition for leverage. But Mr. Strzok’s

disagreement with the numerous courts that have concluded that the doctrine applies to former

officials does not diminish the weighty concerns underlying those decisions. Indeed, since

Defendants’ opening brief, the Ninth Circuit has emphasized that this reasoning continues to apply

to former officials. In re U.S. Dep’t of Educ., 25 F.4th at 705 (“The threat of having to spend their

personal time and resources preparing for and sitting for depositions could hamper and distract

officials from their duties while in office. If allowed the minute cabinet secretaries leave office,

overwhelming and unnecessary discovery could also discourage them from taking that office in

the first place or leaving office when there is controversy.”). As but one example, the court in

United States v. Newman, 531 F. Supp. 3d 181, 189 (D.D.C. 2021), similarly issued a protective

order precluding a deposition of the former President in connection with another personnel-related

dispute.

       Mr. Strzok also attempts to distinguish some of the cases that hold uniformly that

depositions of high-level government officials are strongly discouraged, but all he does is

demonstrate the wide breadth of circumstances in which this well-established rule applies. See

Opp. at 8, 14-15. As these cases illustrate, this rule applies whenever a party seeks the deposition

of a sufficiently high-level incumbent or former official. There can be no dispute that former

President Trump was of a sufficiently high-level office to qualify.

       A.      Mr. Strzok Has Failed to Exhaust Potential Alternatives for the Desired
               Discovery

       Defendants’ opening brief demonstrated that Mr. Strzok has not exhausted potential

alternatives before taking the former President’s deposition. Mem. at 7-9. In opposition, Mr. Strzok


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points to statements made by former President Trump and suggests that they indicate that pressure

from former President Trump is the only plausible reason for Mr. Strzok’s removal. On that basis,

Mr. Strzok says he is entitled to take former President Trump’s deposition now.

       But Mr. Strzok’s assertions find no support in the factual record, including the tens of

thousands of pages already produced thus far. They also ignore the events leading up to Mr.

Bowdich’s removal decision, including the Special Counsel’s decision to have Mr. Strzok

reassigned from the Russia investigation immediately upon learning of the text messages, the

Office of the Inspector General’s referral of Mr. Strzok to the FBI for discipline, career FBI Office

of Professional Responsibility (“OPR”) unit head Jessica Loreto’s recommendation that Mr.

Strzok be removed, and OPR Assistant Director Candice Will’s finding that “[t]he nature and

scope of [Mr. Strzok’s] misconduct certainly warrants dismissal.” Aug. 8, 2018 Letter from

Candice Will to Peter P. Strzok II at 23, Strzok v. Garland, 1:19-CV-2367-ABJ (D.D.C.), ECF

Nos. 30-1, 30-5.

       The record at this juncture therefore offers no basis to deviate from what the law demands,

namely, to require Mr. Strzok first to exhaust alternatives for the discovery he seeks, including

taking the deposition of Mr. Bowdich as well as those individuals with knowledge relevant to the

removal-related claims. However, to date, Mr. Strzok has not noticed the depositions of Ms. Loreto

or Ms. Will, and he has not yet taken the deposition of Mr. Bowdich, despite apparently serving a

deposition subpoena on Mr. Bowdich sometime in late 2021.1 And he has made no showing that



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  Mr. Bowdich has retained private counsel and is not represented in his individual capacity by
counsel for Defendants. Defendants understand that Plaintiffs have engaged directly with his
counsel in connection with their subpoenas of Mr. Bowdich, including receiving documents from
him directly. While Mr. Strzok complains in his Opposition about the timing of both this motion
and the pace of other discovery in this case, these complaints are both irrelevant and unfounded.
Regarding discovery, the reason Mr. Strzok has chosen not to take these depositions yet is beside
the point; what matters is that he must do so before he can depose the former President. Nor is Mr.
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former President Trump was involved in those officials’ decisionmaking process in any way.

(Indeed, Mr. Strzok points to former President Trump’s statements complaining that Mr. Strzok

had not been fired months before Mr. Strzok’s removal, suggesting that the FBI followed its

regular disciplinary processes and drew its own conclusion at the end of that process.) Depositions

of Mr. Bowdich and the other officials who participated in the decision to remove Mr. Strzok

would be less restrictive than the deposition of former President Trump, and as such the law of

this Circuit requires that they come before Mr. Strzok can make a showing that he is entitled to

former President Trump’s deposition. See, e.g., In re Cheney, 544 F.3d 311, 314 (D.C. Cir. 2008).

       Depositions of Mr. Bowdich, Ms. Will, and Ms. Loreto are also poised to develop the

record on the relevant question of what actually occurred in Mr. Strzok’s removal proceedings.

Those depositions are necessary prerequisites to establishing the relevance, if any, of former

President Trump’s testimony. See infra Part I.B. Even under Mr. Strzok’s theory, former President

Trump’s conduct and state of mind have no relevance unless they ultimately influenced Mr.

Bowdich. Mr. Strzok argues that to prove discrimination, the putative “influencing official” (i.e.,

former President Trump) must have “played a meaningful role in the decisionmaking process”

regarding his removal. Opp. at 8, 12 (quoting Vasquez v. Empress Ambulance Serv., Inc., 835 F.3d




Strzok’s recounting correct. Plaintiffs claimed in September 2021 that they were ready to take
depositions. But in October 2021, they withdrew their deposition requests and served additional
burdensome discovery on Defendants, including 18 interrogatories and 29 requests for admission.
These requests constituted more than double the number of interrogatories they had previously
propounded in the case and the only requests for admission they have propounded thus far.
Plaintiffs also served nine requests for production on Defendants since October 2021 and added
more than a dozen requested document custodians in December 2021. As for the filing of this
motion, the exhibits Mr. Strzok filed make clear that (a) Plaintiffs initially failed to perfect service
of the subpoena on Mr. Trump; (b) Defendants timely indicated they needed time to decide how
to proceed with respect to this subpoena; and (c) Mr. Strzok and his counsel agreed to the timeline
requested by Defendants, in the process making clear that they were aware that a protective order
motion was the likely response. See Opp. at Ex. D.
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267, 272 (2d Cir. 2016)). But Mr. Strzok has made no showing that former President Trump played

any role in Mr. Bowdich’s decisionmaking process—which followed a disciplinary referral from

the Inspector General, a recommendation of removal from the Office of Professional

Responsibility, and a recognition that Mr. Strzok’s conduct “certainly warrants dismissal” from

the head of the Office of Professional Responsibility—let alone a “meaningful” one. Nor has Mr.

Strzok provided any reason why he cannot first ask Mr. Bowdich whether he was in fact influenced

by former President Trump’s “pressure campaign,” which he concedes is part of establishing his

First Amendment claim. Opp. at 11-12.

       Mr. Strzok also contends that the Court should not require him to exhaust alternate means

before taking former President Trump’s deposition because he claims former President Trump

“has personal knowledge of facts central to the claims in the case,” relying on analysis from a

district court case in the Southern District of New York. See Opp. at 8-9. But Mr. Strzok’s

contention contravenes the law in this Circuit. As the Court explained in quashing the subpoena at

issue in Kelley: “While plaintiffs may have grounds to believe that this witness has the requisite

personal knowledge, they have not yet established that they cannot obtain the information he may

possess elsewhere.” 2015 WL 13648073, at *2; cf. Opp. at 9 (“when a court finds that the relevant

government official ‘has unique first-hand knowledge related to the litigated claims, it need not

make a separate finding that the necessary information cannot be obtained through other, less

burdensome or intrusive means.’” (quoting In re Terrorist Attacks on Sept. 11, 2001, Case No. 03-

MDL-01570 (GBD)(SN), 2020 WL 8611024, at *14 (S.D.N.Y. Aug. 27, 2020))). The situation

here is exactly the same.

       Mr. Strzok also misunderstands the New York court’s point. It did not say that a high-level

government official need only have relevant knowledge to overcome the apex doctrine, which



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would amount to no meaningful protection for high-level officials at all. Rather, that court simply

indicated that, once a party has established that a deponent has “unique” information—that is,

information “that cannot be obtained elsewhere”—the court need not separately conclude that

there are less intrusive means (e.g. written interrogatories) than a deposition to obtain it. Cf.

Judicial Watch v. U.S. Dep’t of State, No. CV 13-1363, 2016 WL 10770466, at *6 (D.D.C. Aug.

19, 2016) (authorizing interrogatories of Secretary of State Clinton because while “her counsel

acknowledged at oral argument[ that] Secretary Clinton has unique first-hand knowledge”

warranting her testimony, “Judicial Watch has failed to demonstrate that it cannot obtain the

discovery it seeks through other, less burdensome or intrusive means such as interrogatories.”). As

discussed below, Mr. Strzok has failed to make that necessary showing.

       B.      Mr. Strzok Has Not Shown that the Former President Has Unique First-Hand
               Knowledge Related to the Claims

       In addition to failing to exhaust alternative means of establishing that former President

Trump improperly influenced the result of his disciplinary proceedings, Mr. Strzok has also failed

to establish that former President Trump has unique personal knowledge relevant to the case.

       The only knowledge of former President Trump’s “that cannot be obtained elsewhere”

identified by Mr. Strzok in his opposition is former President Trump’s “state of mind” and

“motivations,” i.e., former President Trump’s intent in making certain statements. Kelley, 2015

WL 13648073, at *2; Opp. at 2, 8, 12. But, as explained above, former President Trump’s state of

mind and intentions are not relevant to Mr. Strzok’s claims. Whether or not former President

Trump intended to influence Mr. Bowdich is immaterial; the only question relevant to Mr. Strzok’s

claims is whether or not former President Trump (whatever he intended) did influence Mr.

Bowdich. But that is a question properly addressed only to Mr. Bowdich, or others directly

involved in the removal process.


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       Indeed, although Mr. Strzok has conducted two depositions and has received tens of

thousands of pages collected from searches from over 60 custodians in response to requests for

production, responses to 25 interrogatories, and responses to 29 requests for admission in this case,

Mr. Strzok has been able to point to only one document to back up his contention that he was

removed from the FBI based on former President Trump’s improper influence: a single page of

Mr. Bowdich’s notes indicating that Mr. Bowdich was aware of certain of former President

Trump’s widely publicized public statements about Mr. Strzok. Opp. Ex. B. But this does not

justify former President Trump’s deposition at this juncture or make examination of former

President Trump’s intent or “state of mind” relevant to this case. At most, it is relevant to Mr.

Bowdich’s state of mind and justifies Mr. Strzok asking Mr. Bowdich about the page at Mr.

Bowdich’s deposition.

       Mr. Strzok also suggests in passing that former President Trump’s “public statements [are]

relevant to Mr. Strzok’s damages under his Privacy Act claim” on the theory that they “amplified

the harm” Mr. Strzok claims to have experienced. Opp. at 6. But assuming arguendo that this is

so, it does not justify former President Trump’s deposition now, either: As with Mr. Strzok’s

removal-related claims, Mr. Strzok’s argument is essentially that former President Trump’s public

statements had an effect on others, and so discovery, if needed, should be directed at the others

first. And while Mr. Strzok notes that his complaint alleges that “someone at the White House was

used as a conduit to leak information about the texts to the press before [DOJ disclosed them to

the press],” Id. at 11, he has taken no discovery to date to ascertain who that someone was, or even

to determine whether this allegation—which was based “[o]n information and belief,” Compl.

¶ 59—has any factual support. It would clearly violate the apex doctrine to begin with the former




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President’s deposition as a way to explore the speculative theory that someone at the White House

was responsible for this alleged leak.

       Mr. Strzok cites a number of cases in which high-level officials were ostensibly subjected

to depositions to support his argument that this Court should authorize former President Trump’s

deposition. None is apposite. This case is wholly different from Halperin v. Kissinger, 401 F.

Supp. 272 (D.D.C. 1975), and Clinton v. Jones, 520 U.S. 681 (1997), both cited by Mr. Strzok. In

Halperin, former President Nixon was required to provide a deposition only after “[m]ore than

twenty witnesses ha[d] been deposed” and there was no dispute that Mr. Nixon was the official

responsible for the challenged acts. 401 F. Supp. at 275. Here, by contrast, Mr. Strzok has yet to

take the deposition of any witness on the subject of his removal claims and has conceded that

former President Trump was not the decision-maker for his removal. And in Clinton v. Jones,

former President Clinton was a party to the case, which involved Mr. Clinton’s own alleged

personal conduct, not the actions of government officials. 520 U.S. at 685.

       Nor are Zimmerman v. Al Jazeera Am., LLC, 329 F.R.D. 1, 6 (D.D.C. 2018), and Judicial

Watch v. U.S. Dep’t of State, No. CV 13-1363, 2016 WL 10770466 (D.D.C. Aug. 19, 2016), cited

by Mr. Strzok, of help here. See Opp. at 12-13. Zimmerman does not involve a government official

at all, and both cases involve the deposition of the individual who directly made the decision at

issue in the case. They thus have no bearing on the issues involving former President Trump.2



2
  Trump Old Post Office LLC v. Topo Atrio LLC, No. 2015 CA 006624 B, 2016 WL 11478086
(D.C. Super Dec. 14 2016) is even farther afield. While Mr. Strzok describes the case as “ordering
Trump’s deposition over apex doctrine objections,” he fails to note (1) that the case predated
former President Trump’s time in federal office and (2) that the DC court rejected the premise that
the apex doctrine applied under District of Columbia law. Opp. at 13; see Trump Old Post Office
LLC, 2016 WL 11478086. at *2 (noting “[w]hile this Court may consider the factors under the
apex doctrine, this jurisdiction has neither adopted nor otherwise addressed it” and applying
general protective order standard under D.C. local law). Here, of course, the Court is bound by the
law of this Circuit that has adopted the apex doctrine.
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Moreover, Mr. Strzok misrepresents the holding of Judicial Watch. The court in that case did not

“authorize the deposition of then-Secretary of State Hillary Clinton” as Mr. Strzok represents, nor

was there any dispute about whether Secretary Clinton had “unique personal knowledge”

necessary to the case. Opp. at 13; Judicial Watch, 2016 WL 10770466, at *6 (“Clearly, and as her

counsel acknowledged at oral argument, Secretary Clinton has unique first-hand knowledge of the

purpose for the creation and operation of the clintonemail.com system for State Department

business.”). Rather, the court authorized interrogatories of Secretary Clinton, because it found that

“Judicial Watch has failed to demonstrate that it cannot obtain the discovery it seeks through other,

less burdensome or intrusive means such as interrogatories.” Id. Judicial Watch thus militates

against permitting former President Trump’s deposition here.

       Nor is it sufficient to argue, as Mr. Strzok does, that former President Trump’s deposition

is inherently necessary to test the credibility of any statement Mr. Bowdich may offer about former

President Trump’s influence or lack thereof at some future deposition. See Opp. at 12 n.3. As Mr.

Bowdich has not been deposed, this speculation about what he may say puts the cart before the

horse. And, in any event, Mr. Strzok offers no basis to conclude that Mr. Trump had direct

knowledge about Mr. Bowdich’s intentions.

       Regardless, Mr. Strzok may of course offer former President Trump’s public statements to

support his arguments, subject to the Federal Rules of Evidence. But Mr. Strzok does not need

former President Trump’s testimony to make an argument based on former President Trump’s

public statements, because the public nature of the statements by definition means they can be

“obtained elsewhere.” Absent some specific evidence that former President Trump participated in

Mr. Bowdich’s decisionmaking process, there is no basis to permit former President Trump’s

deposition.



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       Towards the end of his brief, Mr. Strzok observes that “Presidents are not kings, and

[former President Trump] is not President,” and that “Presidents and former Presidents are not

immune from deposition . . .” Opp. at 17 (quoting Trump v. Thompson, No. 21-cv-2769 (TSC),

2021 WL 5218398, at *8 (D.D.C. Nov. 9, 2021)). But as the Ninth Circuit recently explained in

issuing a writ of mandamus precluding the deposition of a former cabinet secretary, “[t]he

significant protection from depositions that [high-level government officials] enjoy does not mean

that they are above the law”; it only means that they maintain “significant protection from

depositions.” In re U.S. Dep't of Educ., 25 F.4th at 701.

                                          CONCLUSION

       After taking depositions of those who were undisputedly involved in his removal process,

Mr. Strzok may—or may not—develop a factual basis to take former President Trump’s

deposition. But he has failed to do so at this juncture. Accordingly, and for the reasons set forth in

Defendants’ opening brief and the foregoing reasons, Defendants respectfully request a protective

order precluding former President Trump’s deposition at this time and/or that the subpoena for

former President Trump’s deposition be quashed.

Dated: April 11, 2022                              Respectfully submitted,

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                                                    Deputy Assistant Attorney General

                                                    MARCIA BERMAN
                                                    Assistant Branch Director

                                                    CHRISTOPHER R. HALL
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                                                    /s/ Christopher M. Lynch
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